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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


 CENTER FOR BIOLOGICAL
                                                    Case No. 8:21-cv-1521
 DIVERSITY, TAMPA BAY
 WATERKEEPER, SUNCOAST
 WATERKEEPER, MANASOTA-88, and
                                                    JOINT MOTION TO AMEND
 OUR CHILDREN’S EARTH
                                                    BRIEFING SCHEDULE,
 FOUNDATION,
                                                    RESCHEDULE HEARING ON
         Plaintiffs,                                PENDING MOTIONS, AND
                                                    DEFER INITIAL
        v.
                                                    DISCLOSURES
 GOVERNOR RON DeSANTIS,
 and
 SHAWN HAMILTON, in his official
 capacity as ACTING SECRETARY,
 FLORIDA DEPARTMENT OF
 ENVIRONMENTAL PROTECTION,
 and
 HRK HOLDINGS, LLC,
 and
 MANATEE COUNTY PORT
 AUTHORITY,
         Defendants.




       Plaintiffs and Defendants1 (the “Parties”) hereby jointly move this Court to

amend the briefing schedule, reschedule oral argument on the pending motions, and



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 As of the time of filings, Counsel for HRK Holdings, LLC, had not yet responded
to an email requesting his client’s position on this motion.

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defer initial disclosures by three weeks and, and as grounds therefore, state as follows:

       1.     On August 12, 2021, this Court established a briefing schedule for

Plaintiffs to file an amended complaint and for Defendants to file responsive pleadings

or motions to dismiss. Dkt. No. 31. That schedule included briefs, briefs in opposition,

and reply briefs.

       2.     On August 31, 2021 the Court entered the Case Management and

Scheduling Order setting forth deadlines for completion of discovery and the

scheduling of pretrial procedures and trial. Dkt. No. 41.

       3.     On September 8, 2021, while the Plaintiffs and FDEP were engaged in

discussions to determine if the Parties might have a path forward that would involve

an agreed-upon stay of all or part of this action, the Parties sought, and this Court

granted an enlargement of the briefing schedule on a motion to dismiss. Under the

revised schedule, motions to dismiss were due on November 3, 2021, the Plaintiffs’

opposition brief was due on December 1, 2021, and reply briefs were due on December

22, 2021. Dkt. No. 43.

       4.     The Plaintiffs and FDEP negotiated in good faith but ultimately

determined on October 25, 2021, that they were not able to reach an agreement on a

stay of all or part of this action.

       5.     On November 19, 2021, the Plaintiffs filed their Second Amended

Complaint for Declaratory and Injunctive Relief. Dkt. No. 50. The Court also granted

an extension of the briefing schedule for good cause shown. Under the revised schedule


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the Defendants’ motions to dismiss were due December 3, 2022, the Plaintiffs’

opposition motions were due January 7, 2022 and Defendants replies were due January

28, 2022. Dkt. 49.

       6.     Due to a medical emergency, Plaintiffs sought an unopposed two-week

enlargement of the deadline for the opposition briefs, and the Court granted Plaintiffs

an extension on their opposition motions until January 21, 2022. Dkt. 61. In moving

for an enlargement for the opposition briefs, Plaintiffs inadvertently failed to include a

request for a comparable enlargement for Defendants’ reply briefs.

       7.     On December 17, 2021, the Court issued a Notice of Hearing on all

pending motions to be heard January 26, 2021. Dkt. 62. The Court’s Order does not

allow Defendants an opportunity to reply to Plaintiffs’ Opposition Motions, as had

been permitted in the Court’s prior orders.

       8.     Accordingly, the Parties respectfully request that the Court permit

Defendants to file reply briefs no later than February 4, 2022, which is two weeks after

Plaintiffs’ opposition is due. The parties believe that permitting Defendants to file reply

briefs is not only consistent with the Court’s prior scheduling orders but will also help

crystalize the issues for oral argument.

       9.     To account for the reply briefs, the parties respectfully request that the

Court reschedule the hearing on all pending motions, recently set for January 26, 2022,

for a date convenient for the Court that is after Defendants’ requested February 4, 2022

deadline for reply briefs.



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      10.     Under the current Case Management and Scheduling Order, the first

deadline (the date for exchanging mandatory initial disclosures) is December 17, 2021.

The parties have agreed to provide an additional three weeks, to January 7, 2022, for

such disclosure, and respectfully request that the Court amend the scheduling order to

allow for the same.

      11.     This joint motion is made in good faith by mutual agreement of the

Parties for the sole purpose of facilitating management of the case and allowing the

Parties to avoid unnecessary litigation costs, not for purposes of delay. No Party will

be prejudiced by granting the relief sought herein.

       WHEREFORE, the Parties respectfully request the entry of an Order:

       a. granting an enlargement of time for Defendants to reply to plaintiffs’

            motions in opposition until February 4, 2022;

       b. rescheduling the January 26, 2021 hearing until after the Defendants’

            reply brief deadline of February 4, 2022;

       c. deferring the Initial Disclosures until January 7, 2022. and

       d. granting all other relief as the Court deems appropriate.




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 Respectfully Submitted this 17th day of December 2021.

 /s/ Daniel C. Snyder                         /s/ Jaclyn Lopez
 Daniel C. Snyder, pro hac vice               Jaclyn Lopez
 Charles M. Tebbutt                           Florida Bar No. 96445
 B. Parker Jones                              CENTER FOR BIOLOGICAL
 LAW OFFICES OF CHARLES M.                    DIVERSITY
 TEBBUTT, P.C.                                P.O. Box 2155
 941 Lawrence St.                             St. Petersburg, FL 33731
 Eugene, OR 97401                             Tel: (727) 490-9190
 Tel: (541) 344-3505                          jlopez@biologicaldiversity.org
 Fax: (541)344-3516
 dan@tebbuttlaw.com                           /s/ Nicholas J.P. Meros
 charlie@tebbuttlaw.com                       Nicholas J.P. Meros (FBN 0120270)
 parker@tebbuttlaw.com                        Deputy General Counsel
                                              EXECUTIVE OFFICE OF THE
 /s/ Justin Bloom                             GOVERNOR
 Justin Bloom                                 The Capitol, PL-5
 Florida Bar No. 89109                        400 S. Monroe Street
 PO Box 1028                                  Tallahassee, FL 32399
 Sarasota, FL 34230                           Tel: (850) 717-9310
 Tel: (941) 275-2922                          Fax: (850) 488-9810
 bloomesq1@gmail.com
                                              Nicholas.Meros@eog.myflorida.com
 Attorneys for Plaintiffs                     Gov.legal@eog.myflorida.com
 /s/ Jesse Panuccio
 Jesse Panuccio                               Counsel for Governor Ron DeSantis
 Florida Bar No. 31401
 BOIES SCHILLER FLEXNER LLP
 401 E. Las Olas Blvd. Ste. 1200
 Fort Lauderdale, FL 33301
 Tel:: (954) 356-0011
 jpanuccio@bsfllp.com

 Counsel for Defendant Acting Secretary
 Hamilton

                                              /s/ Kevin S. Hennessy
 Jesse L. Ray, Esq.                           Kevin S. Hennessy, Esq.
 Florida Bar No. 0919101                      Florida Bar No. 0602558
 JESSE LEE RAY ATTORNEY                       Nicole J. Poot, Esq.
 AT LAW, P.A.                                 Florida Bar No. 0118858


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 13014 N. Dale Mabry Hwy. #315                  LEWIS, LONGMAN & WALKER, P.A.
 Tampa, Florida 33618-2808                      100 Second Avenue South, Suite 501-S
 jray@jesseleeray.com                           St. Petersburg, FL 33701
 efile@jesseleeray.com                          Tel: (727) 245-0820
 Tel: (813) 443-9701                            Fax: (727) 290-4057 Primary
 Fax: (866) 523-5468                            khennessy@llw- law.com
                                                npoot@llw-law.com
 Attorney for Defendant HRK Holdings, LLC       jbissette@llw- law.com;
                                                jdavy@llw-law.com

                                                Counsel for Manatee County Port Authority


                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 17, 2021, I presented the foregoing

 document to the Clerk of the Court for filing and uploading to the CM/ECF system,

 which will send notification of such filing to all parties and their counsel of record in

 this case.

                                                 /s/ Kevin S. Hennessy
                                                 Kevin S. Hennessy, Esq.
                                                 Florida Bar No. 0602558
                                                 LEWIS, LONGMAN & WALKER,
                                                 P.A.
                                                 100 Second Avenue South, Suite 501-S
                                                 St. Petersburg, FL 33701
                                                 Tel: (727) 245-0820
                                                 Fax: (727) 290-4057 Primary

                                                 Counsel for Manatee County Port
                                                 Authority




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